           Case 4:97-cr-40001-JPG                       Document 68           Filed 01/31/08          Page 1 of 4           Page ID #19
% A 0 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations




                                                              Southern District of Illinois

           UNITED STATES OF AMERICA                                          Judgement in a Criminal Case
                                 v.                                          (For Revocation of Probation or Supervised Release)
                      Michael L. Brown

                                                                             Case No. 4:97CR40001-02-JPG
                                                                             USM No. 03874-025
                                                                              Judith Kuenneke, FPD
                                                                                                Defendant's Attorney
THE DEFENDANT:
4admtted guilt to violation of condition(s) as alleged in petition                            of the term of supervision.
    was found in violation of condition(s)                                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                              Violation Ended
Statutory                             The defendant committed the offense of Possession with                      05/03/2007
       ,     %                        Infent to1f)istri~teCannabis

Statutory                             Defendant illegally possessed cannabis                                      05/03/2007


      The defendant is sentenced as provided in pages 2 through                  4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notif the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untiall fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economc circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0240                           01/25/2008

Defendant's Year of Birth:              1977

City and State of Defendant's Residence:                                                               Signature of Judge
East St. Louis, IL
                                                                   CI
                                                                              J. Phil Gilbert                               District Judge
                                                                                                    Name and Title of Judge
          Case 4:97-cr-40001-JPG                     Document 68               Filed 01/31/08     Page 2 of 4          Page ID #20
 A 0 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                                    Judgment-   Page    2    of      4
 DEFENDANT: Michael L. Brown
 CASE NUMBER: 4:97CR40001-02-JPG

                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
4 months




          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                        a.m.           p.m.    on
               as notified by the United States Marshal.

      4 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
          d as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 at                                                   with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                               BY
                                                                                              DEPUTY UNITED STATES MARSHAL
           Case 4:97-cr-40001-JPG                      Document 68        Filed 01/31/08         Page 3 of 4          Page ID #21
  A 0 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

                                                                                                      Judgment-Page            of        4
  DEFENDANT: Michael L. Brown
  CASE NUMBER: 4:97CR40001-02-JPG
                                                              SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of :
5 years



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as detemned by the court.
  17 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  8/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  17 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condtion of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

   1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
             five days of each month;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or a w i s t e r any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)
                                                                                             r
             the defendant shall not associate with any persons engaged in criminal activi and shall not associate with any person
             convicted of a felony, unless granted pemssion to do so by the probation of icer;
   10)       the defendant shall permit a probation ofecer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
   11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
   12)       the defendant shall not enter into any a reement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court; an%
   13)       as directed by the probation officer, the defendant shall notify third arties of risks that may be occasioned b the
             defendant's criminal record or personal history or characteristics an8 shall permit the probation officer to maie such
             notifications and to confirm the defendant's compliance with such notification requirement.
            Case 4:97-cr-40001-JPG                    Document 68        Filed 01/31/08   Page 4 of 4        Page ID #22
 A 0 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3C - Supervised Release

                                                                                             Judgment-Page    4    of      4
 DEFENDANT: Michael L. Brown
 CASE NUMBER: 4:97CR40001-02-JPG

                                               SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall spend the first four months of supervised release in home detention with electronic monitoring as
directed by probation.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.
